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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



United States of America,                      Case No. 21-cr-173 (PJS/DTS)

             Plaintiff,

v.                                             ORDER

Anton Joseph Lazzaro (1),
also known as Tony Lazzaro,
also known as Tony,

             Defendant.



      Defendant Anton Joseph Lazzaro, through his counsel, filed a Motion for Leave to

Have the Court Consider Motion for Sanctions [Dkt. No. 212], a Motion for Sanctions for

Government Breach of Privileged Communications [Dkt. No. 213], and a Motion for Leave

to Reinstate and Amend Motion to Dismiss for Selective/Vindictive Prosecution [Dkt. No.

214] on June 20, 2022. The government emailed Magistrate Judge Schultz’s chambers

and requested an opportunity to respond. The government seeks 30 days to do so on the

ground that it “will permit a full response to the objections to the R&R and account for

federal holidays and other work obligations.” This Court directed the government to file

its request with the Court and the government filed a Request to Respond to Defendant’s

Motion for Sanctions [Dkt. No. 215].

      IT IS HEREBY ORDERED:

      1.     The government’s Request to Respond to Defendant’s Motion for Sanctions

[Dkt. No. 215] is GRANTED IN PART and DENIED IN PART. The government shall fully

respond to the Motion for Leave to Have the Court Consider Motion for Sanctions [Dkt.

No. 212], the Motion for Sanctions for Government Breach of Privileged Communications
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[Dkt. No. 213], and the Motion for Leave to Reinstate and Amend Motion to Dismiss for

Selective/Vindictive Prosecution [Dkt. No. 214] by July 8, 2022.

       2.     No additional briefing is permitted by either party.

       3.     To the extent the government is requesting additional time to “respon[d] to

the objections to the R&R,” the request is DENIED. Such a request must be decided by

the District Judge who will consider the objections.

       4.     An evidentiary hearing on the Motion for Leave to Have the Court Consider

Motion for Sanctions [Dkt. No. 212] and the Motion for Sanctions for Government Breach

of Privileged Communications [Dkt. No. 213] will take place before the undersigned on

July 14, 2022 at 1:00 p.m. in Courtroom 9E, Diana E. Murphy Courthouse, 300 South

Fourth Street, Minneapolis.



Dated: June 22, 2022                             __s/ David T. Schultz______________
                                                 DAVID T. SCHULTZ
                                                 United States Magistrate Judge




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